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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ISELA CARMINE,                                        )
on behalf of herself and all others                   )
similarly situated,                                   )
                                                      )
                        Plaintiff,                    )
                                                      )       Case No. 20-cv-04589
        vs.                                           )
                                                      )       Honorable Marvin E. Aspen
MACYS RETAIL HOLDINGS, INC.,                          )
                                                      )
                        Defendant.                    )


     MOTION TO CORRECT PARTY NAME AND FILED CORRECTED COMPLAINT
                              INSTANTER

     Plaintiff Isela Carmean, by and through her attorneys, respectfully requests leave to correct

the spelling of a party name and file a corrected complaint. In support of this motion, Plaintiff

states as follows:

1.      On August 5, 2020, Plaintiff filed her Complaint [1] in the instant matter.

2.      In error, Plaintiff’s name was misspelled in the Complaint.

3.      Plaintiff’s name was listed as “Isela Carmine,” but her name is accurately spelled “Isela

Carmean.”

4.      Plaintiff regrets the error and seeks leave of this Honorable Court to file a corrected

complaint correcting the misspelling of Plaintiff’s name, instanter. (Exhibit A, Corrected

Complaint)



        WHEREFORE, Plaintiff respectfully requests leave to file her corrected complaint

instanter and for any further relief this Court deems fair and just.
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                                           By: /s/ Michael J. Wood
                                                   One of Plaintiff’s Attorneys


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                                  CERTIFICATE OF SERVICE

         I, Michael J. Wood, hereby certify that on August 11, 2020, I caused to be filed the

foregoing documents via the CM/ECF System, which caused service of the same to be had on all

attorneys which have appeared in this case, and by service on Defendant, care of its registered

agent:

Macy's Retail Holdings, Inc.
c/o Corporate Creations Network
350 S. Northwest Hwy-Ste 300
Park Ridge, I L 60068

                                                      By: /s/ Michael J. Wood
                                                              One of Plaintiff’s Attorneys


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